                       UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF WISCONSIN
_____________________________________
                                      )
UNITED STATES OF AMERICA and          )
THE STATE OF WISCONSIN,               )
                                      )
                        Plaintiffs,   )
                                      ) Civil Action No. 10-C-910
            v.                        )
                                      ) The Honorable William C. Griesbach
NCR CORPORATION, et al.               )
                                      )
                        Defendants.   )
_____________________________________ )


   UNITED STATES’ NOTICE OF LODGING OF PROPOSED CONSENT DECREE
                WITH P.H. GLATFELTER COMPANY AND
              GEORGIA-PACIFIC CONSUMER PRODUCTS LP

       The United States of America hereby lodges with the Court the proposed Consent Decree

that is being filed herewith. The United States and the State of Wisconsin are co-plaintiffs in this

action addressing polychlorinated biphenyl contamination at the Lower Fox River and Green

Bay Superfund Site under the Comprehensive Environmental Response, Compensation, and

Liability Act.

       If approved and entered by the Court after a public comment period, this proposed

Consent Decree with P.H. Glatfelter Company and Georgia-Pacific Consumer Products LP

would end this litigation on agreed terms and conditions. Glatfelter would pay a total of

$20.5 million – with $20 million applied toward EPA’s unreimbursed past response costs and

$500,000 applied toward natural resource damages – and Glatfelter would pay all future EPA

and state costs of overseeing the remaining work at the Site. Glatfelter would dismiss its

pending appeal of a separate consent decree that requires a prior settler, NCR Corporation, to

finish all dredging and sediment cap installation work at the Site. Glatfelter and Georgia-Pacific




        Case 1:10-cv-00910-WCG Filed 01/03/19 Page 1 of 4 Document 1252
also would agree to perform all required long-term monitoring and cap maintenance work under

the new settlement.

       As specified by Subparagraph 6.h of the proposed Consent Decree, the parties’ settlement

is expressly conditioned on the Court’s willingness to vacate three prior orders in this case,

namely: (1) the January 3, 2017, Decision and Order on Plaintiffs’ Motion In Limine

(Dkt. 1167); (2) the February 5, 2018, Decision and Order on Cross Motions for Summary

Judgment on Recovery of Response Costs from P.H. Glatfelter Co. (Dkt. 1217); and

(3) the Decision and Order Denying Plaintiffs’ Motion for Reconsideration (Dkt. 1239).

Consistent with other terms of the proposed settlement, vacatur would obviate the need for a

ruling on the Plaintiffs’ pending request that the Court certify an interlocutory appeal on legal

issues raised by those prior orders.

       Pursuant to 42 U.S.C. § 9622(d)(2) and Department of Justice policy, the United States

intends to publish notice of the lodging of this proposed Consent Decree in the Federal Register

to commence a 30-day public comment period. The Court should not sign or enter the proposed

Consent Decree until the public has had an opportunity to comment and the United States has

addressed those comments, if any.

       The United States may withhold its consent to the proposed Consent Decree if comments

disclose facts or considerations which indicate that the proposed Consent Decree is improper,

inappropriate, inadequate, or not in the public interest. At the conclusion of the public comment

period, the United States will: (1) file with the Court any written comments received pertaining

to the proposed Consent Decree; and (2) either notify the Court of its withdrawal of the proposed

Consent Decree, or respond to comments received and seek approval and entry of the Consent

Decree.



                                                 2

          Case 1:10-cv-00910-WCG Filed 01/03/19 Page 2 of 4 Document 1252
       Paragraph 25 of the proposed Consent Decree requires Glatfelter to make its

$20.5 million payment into a Court Registry Account before the expected conclusion of the

public comment period. The United States has therefore filed a separate motion seeking entry of

an order allowing that Court Registry Account deposit by Glatfelter.




                                            Respectfully submitted,


                                            For the United States of America

                                            BRUCE S. GELBER
                                            Deputy Assistant Attorney General
                                            U.S. Department of Justice
                                            Environment and Natural Resources Division

Dated: January 3, 2019                      s/ Randall M. Stone         _
                                            RANDALL M. STONE, Senior Attorney
                                            KRISTIN M. FURRIE, Senior Counsel
                                            U.S. Department of Justice
                                            Environment and Natural Resources Division
                                            Environmental Enforcement Section
                                            P.O. Box 7611
                                            Washington, D.C. 20044-7611
                                            Telephone: 202-514-1308
                                            Facsimile:     202-616-6584
                                            Email: randall.stone@usdoj.gov


                                            MATTHEW D. KRUEGER
                                            United States Attorney
                                            Eastern District of Wisconsin

                                            SUSAN M. KNEPEL
                                            Civil Division Chief
                                            Eastern District of Wisconsin
                                            517 E. Wisconsin Ave., Ste. 530
                                            Milwaukee, WI 53202




                                               3

       Case 1:10-cv-00910-WCG Filed 01/03/19 Page 3 of 4 Document 1252
                                CERTIFICATE OF SERVICE

       I hereby certify that, on this date, copies of the foregoing Notice of Lodging (and the
accompanying proposed Consent Decree) were served on counsel of record by Court’s
Electronic Case Filing System.

Dated: January 3, 2019                               s/ Randall M. Stone




       Case 1:10-cv-00910-WCG Filed 01/03/19 Page 4 of 4 Document 1252
